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The following constitutes the ruling of the court and has the force and effect therein described.



Signed November 4, 2019
                                           United States Bankruptcy Judge
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                        FORT WORTH DIVISION

         IN RE:                                                         Case Number: 16-42573-ELM
         RAFAEL PULIDO JR
         FELICIA MARIE PULIDO
         4005 Alamo Dr                                                  Judge Edward L Morris
         Mansfield, TX 76063

                  Debtors                                               Chapter 13


                            ORDER DISCHARGING STANDING TRUSTEE, AND
                             TERMINATING FURTHER LIABILITY ON BOND

              It appearing to the Court that Tim Truman, Standing Chapter 13 Trustee in the above-styled
         case pending under Chapter 13 of Title 11 of the United States Code, has filed a Final Report and
         Accounting; that the Standing Trustee does not hold any funds to be paid or distributed in this case;
         that he should be discharged and further liability on the said Trustee's bond with respect to this case
         be terminated.

             IT IS THEREFORE ORDERED:

             That Tim Truman, Standing Chapter 13 Trustee in this case, is discharged; that he and the
         sureties or surety on his Trustee's Bond are relieved from liability with respect to this case, except
         such liability as may have accrued heretofore; and that such Bond is cancelled;

                                                # # # End of Order # # #
